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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

Daniel Simons and Patricia Simons,     )
                                       )
      Plaintiffs,                      )
                                       )
      v.                               )         No. 11 C 4038
                                       )
Frederick J. Hanna & Associates, P.C., )
a Georgia professional corporation,    )         Judge Leinenweber
                                       )
      Defendant.                       )

                                 NOTICE OF VOLUNTARY
                               DISMISSAL WITH PREJUDICE

       Plaintiffs, pursuant to F.R.C.P. Rule 41, hereby stipulate to the dismissal of their

claims against the Defendant, with prejudice.

Dated: July 6, 2011

One of Plaintiffs’ Attorneys

/s/ David J. Philipps_______
David J. Philipps      (Ill. Bar No. 06196285)
Mary E. Philipps       (Ill. Bar No. 06197113)
Philipps & Philipps, Ltd.
9760 S. Roberts Road
Suite One
Palos Hills, Illinois 60465
davephilipps@aol.com




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                              CERTIFICATE OF SERVICE

       I hereby certify that on July 6, 2011, a copy of the foregoing Notice of Voluntary
Dismissal with Prejudice was filed electronically. Notice of this filing will be sent to the
following parties by U.S. Mail, first class postage pre-paid, on July 6, 2011, by 5:00 p.m.

Scot W. Groghan
Frederick J. Hanna & Associates, P.C.
1427 Roswell Road
Marietta, Georgia 30062



/s/ David J. Philipps__________

David J. Philipps (Ill. Bar No. 06196285)
Philipps & Philipps, Ltd.
9760 South Roberts Road
Suite One
Palos Hills, Illinois 60465
(708) 974-2900
(708) 974-2907 (FAX)
davephilipps@aol.com




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